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                        Exhibit 1

                Combined Hearing Notice
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )    Case No. 22-10778 (JKS)
                                                                       )
                                    Debtors.                           )    (Jointly Administered)
                                                                       )

      NOTICE OF (I) COMMENCEMENT OF PREPACKAGED CHAPTER 11
     BANKRUPTCY CASES, (II) COMBINED HEARING ON THE DISCLOSURE
STATEMENT, CONFIRMATION OF THE JOINT PREPACKAGED CHAPTER 11 PLAN,
AND RELATED MATTERS, AND (III) RELATED OBJECTION AND BRIEFING DEADLINES

NOTICE IS HEREBY GIVEN as follows:

        On August 23, 2022, the above-captioned debtors and debtors in possession (collectively,
the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) with the United States Bankruptcy Court
for the District of Delaware (the “Court”). Contemporaneously therewith, the Debtors filed the
Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc., and Its Debtor
Affiliates [Docket No. 14] (as may be amended, modified, or supplemented from time to time, and
including all exhibits and supplements thereto, the “Plan”) and the Disclosure Statement for the
Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc., and Its Debtor
Affiliates [Docket No. 15] (as may be amended, modified, or supplemented from time to time, and
including all exhibits and supplements thereto, the “Disclosure Statement”).2

     YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE RELEASE, EXCULPATION, DISCHARGE, AND INJUNCTION
PROVISIONS, AS YOUR RIGHTS MAY BE AFFECTED.

      Copies of the Plan, the Disclosure Statement, and the other documents filed in these
chapter 11 cases are accessible, free of charge, on the Debtors’ restructuring website,

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
    (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Plan or the Disclosure
    Statement, as applicable. The statements contained herein are summaries of certain provisions contained in
    the Plan and do not purport to be precise or complete statements of all the terms and provisions of the Plan or
    documents referred to therein. To the extent there is a discrepancy between the terms herein and the Plan or
    Disclosure Statement, the Plan or Disclosure Statement, as applicable, shall govern and control. For a more
    detailed description of the Plan, please refer to the Disclosure Statement.
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https://kccllc.net/Carestream. Printed copies of the Plan, the Disclosure Statement, and the
other documents filed in these chapter 11 cases may be obtained free of charge by calling the
Solicitation Agent at (877) 709-4750 (Toll-free from US / Canada) or +1 (424) 236-7230
(International) or by writing to the Solicitation Agent at Carestream Health, Inc. Ballot
Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast Highway,
Suite 300, El Segundo, CA 90245. In addition, such documents are available for inspection for a
fee on the Court’s website at www.deb.uscourts.gov and are on file with the Clerk of the Court,
824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, where they are available for
review between the hours of 8:00 a.m. to 4:00 p.m., prevailing Eastern Time.

        The Plan is a “prepackaged” plan of reorganization. The Plan provides for, among other
things, (a) a reduction of approximately $470 million of the Debtors’ funded debt obligations,
(b) a new money equity investment of up to $75 million, and (c) payment in full of all trade,
customer, employee, and other non-funded debt claims. The Debtors believe that any valid
alternative to confirmation of the Plan would result in significant delays and additional costs, and,
ultimately, would jeopardize recoveries for holders of allowed claims.

    Hearing on Confirmation of the Plan and the Adequacy of the Disclosure Statement

        The hearing to consider the adequacy of the Disclosure Statement, any objections thereto,
confirmation of the Plan, any objections thereto, any objections to the proposed assumption of
Executory Contracts and Unexpired Leases, and any other matter that may properly come before
the Court (the “Combined Hearing”) will be held before the Honorable J. Kate Stickles, United
States Bankruptcy Judge, in Courtroom 6 of the United States Bankruptcy Court, 824 North
Market Street, Wilmington, Delaware, 19801, on September 28, 2022, at 2:00 p.m., prevailing
Eastern Time. Please be advised that the Combined Hearing may be continued from time to time
by the Court or the Debtors without further notice other than by such adjournment being announced
in open court or by a notice of adjournment filed with the Court and served on other parties entitled
to notice.

                  Information Regarding the Plan and Disclosure Statement

       Voting Record Date. The voting record date was August 15, 2022, which was the date for
determining which Holders of Claims in Class 3 and Class 4 of the Plan were entitled to vote.

        Objections to the Plan and Disclosure Statement. The deadline for filing objections
(each, an “Objection”) to confirmation of the Plan or the adequacy of the Disclosure Statement, or
the proposed assumption of Executory Contracts and Unexpired Leases, is September 21, 2022,
at 5:00 p.m., prevailing Eastern Time (the “Objection Deadline”). Any such Objections must:
(a) be in writing; (b) comply with the Bankruptcy Rules and and other case management rules and
orders of the Court; (c) state the name and address of the objecting party and the amount and nature
of the Claim or Interest owned by such entity; (d) state with particularity the legal and factual basis
for such objections, and, if practicable, a proposed modification to the Plan or Disclosure
Statement that would resolve such objection; and (e) be filed with the Court with proof of service
thereof and served upon the Notice Parties (as defined herein) so as to be actually received by the
Objection Deadline.


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         Objections must be filed with the Court and served so as to be actually received no later
than September 21, 2022, at 5:00 p.m., prevailing Eastern Time, by those parties who have
filed a notice of appearance in the Debtors’ chapter 11 cases and the following parties (the “Notice
Parties”): (a) the Debtors, Carestream Health, Inc., 150 Verona Street, Rochester, New York
14608, Attention: Julie Lewis (Julie.Lewis@carestream.com); (b) Proposed Co-Counsel to the
Debtors, (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attention: Patrick
J.      Nash,       P.C.     (patrick.nash@kirkland.com),       Tricia      Schwallier       Collins
(tricia.collins@kirkland.com), and Yusuf U. Salloum (yusuf.salloum@kirkland.com), and 601
Lexington Avenue, New York, New York 10022, Attention: Nicole L. Greenblatt, P.C.
(nicole.greenblatt@kirkland.com) and Rachael M. Bentley (rachael.bentley@kirkland.com), and
(ii) Pachulski Stang Ziehl & Jones, 919 North Market Street, Wilmington, Delaware 19801,
Attention: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns (tcairns@pszjlaw.com),
and Edward Corma (ecorma@pszjlaw.com); (c) Co-Counsel to the Crossover Group, Akin
Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036, Attention:
Philip Dublin (pdublin@akingump.com), Naomi Moss (nmoss@akingump.com), and Iain Wood
(iwood@akingump.com); (d) Counsel to the DIP Agent, Simpson Thacher & Bartlett LLP,
425 Lexington Avenue, New York, New York 10017, Attn: Jessica Tuchinsky
(jtuchinsky@stblaw.com); (e) Counsel to the First Lien Agent and Second Lien Agent,
Freshfields Bruckhaus Deringer US LLP, 601 Lexington Avenue, 31st Floor, New York, New
York 10022, Attn: Mark F. Liscio (mark.liscio@freshfields.com) and Scott Talmadge
(scott.talmadge@freshfields.com); (f) the Sponsor, Onex Partners Manager LP, 712 Fifth
Avenue, New York, New York 10019, Attention: Adam Coburn (acoburn@onex.com); and (g)
the Office of the United States Trustee for the District of Delaware, 844 King Street, Suite
2207,         Lockbox 35,        Wilmington,        Delaware        19801,       Jane         Leamy
(jane.m.leamy@usdoj.gov@usdoj.gov).

       Any brief in support of confirmation of the Plan and reply to any objections shall be filed
by September 26, 2022, at 12:00 p.m., prevailing Eastern Time, or such other date as the Court
may direct.

     UNLESS AN OBJECTION IS TIMELY SERVED AND FILED IN ACCORDANCE
WITH THIS NOTICE IT MAY NOT BE CONSIDERED BY THE COURT.

     YOU ARE ADVISED TO CAREFULLY REVIEW AND CONSIDER THE PLAN,
INCLUDING THE RELEASE, EXCULPATION, DISCHARGE, AND INJUNCTION
PROVISIONS, AS YOUR RIGHTS MAY BE AFFECTED.

                                  Summary of Plan Treatment

        The following chart summarizes the treatment provided by the Plan to each Class of Claims
against and Interests in the Debtors, and indicates the voting status of each Class.

       Class            Claims and Interests               Status           Voting Rights
                                                                       Not Entitled to Vote
     Class 1     Other Secured Claims                  Unimpaired
                                                                       (Presumed to Accept)
                                                                       Not Entitled to Vote
     Class 2     Other Priority Claims                 Unimpaired
                                                                       (Presumed to Accept)


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       Class             Claims and Interests               Status           Voting Rights
     Class 3     First Lien Claims                      Impaired        Entitled to Vote

     Class 4     Second Lien Term Loan Claims           Impaired        Entitled to Vote
                                                                        Not Entitled to Vote
     Class 5     General Unsecured Claims               Unimpaired
                                                                        (Presumed to Accept)
                                                                        Not Entitled to Vote
     Class 6     Intercompany Claims                    Unimpaired
                                                                        (Presumed to Accept)
                                                                        Not Entitled to Vote
     Class 7     Intercompany Interests                 Unimpaired
                                                                        (Presumed to Accept)
                                                                        Not Entitled to Vote
     Class 8     Existing Interests                     Impaired
                                                                        (Deemed to Reject)
                                                                        Not Entitled to Vote
     Class 9     Section 510(b) Claims                  Impaired
                                                                        (Deemed to Reject)

                       Discharge, Injunctions, Exculpation, and Releases

        Please be advised that the Plan contains certain release, exculpation, discharge, and
injunction provisions as follows:

Relevant Definitions

“Exculpated Parties” means collectively, and in each case in its capacity as such, the Debtors and
each Related Party of the Debtors; provided that Exculpated Parties shall not include non-Debtor
Affiliates and such non-Debtor Affiliates’ Related Parties.

“Released Parties” means each of, and in each case in their capacity as such: (a) the Debtors;
(b) the Reorganized Debtors; (c) the Consenting Parties; (d) the Agents; (e) the DIP Lenders;
(f) the Releasing Parties; (g) current and former Affiliates of each Entity in clause (a) through the
following clause (h); and (h) each Related Party of each Entity in clause (a) through this clause (h);
provided, however, that, notwithstanding the foregoing, any holder of a Claim or Interest that is
not a Releasing Party shall not be a “Released Party.”

“Releasing Parties” means each of, and in each case in its capacity as such: (a) the Debtors; (b) the
Reorganized Debtors; (c) the Consenting Parties; (d) the Agents; (e) the DIP Lenders; (f) all
holders of Claims; (g) all Holders of Interests; (h) to the maximum extent permitted by Law, each
current and former Affiliate of each Entity in clause (a) through the following clause (i); and (i) to
the maximum extent permitted by Law, each Related Party of each Entity in clause (a) through
this clause (i); provided, however, that, notwithstanding the foregoing, an Entity shall not be a
“Releasing Party” if such Entity (x) does not vote to, and is not deemed to, accept the Plan, and
(y) timely Files on the docket of the Chapter 11 Cases an objection to the Third-Party Release that
is not resolved before Confirmation or otherwise validly opts out of the Third-Party Release; and
provided, further, that any such Entity shall be identified by name as a non-Releasing Party in the
Confirmation Order.




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RELEASES BY THE DEBTORS

        Notwithstanding anything contained in the Plan to the contrary, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, on and after the
Effective Date, each Released Party is deemed released and discharged by the Debtors, the
Reorganized Debtors, and their Estates from any and all Claims and Causes of Action,
whether known or unknown, including any derivative claims, asserted or assertable on
behalf of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates, including
any successors to the Debtors or any Estate’s representative appointed or selected pursuant
to section 1123(b) of the Bankruptcy Code, would have been legally entitled to assert in their
own right (whether individually or collectively) or on behalf of the Holder of any Claim
against or Interest in a Debtor or other Entity, or that any Holder of any Claim against or
Interest in a Debtor or other Entity could have asserted on behalf of the Debtors, based on
or relating to or in any manner arising from in whole or in part, the Debtors (including the
management, ownership, or operation thereof or otherwise), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, intercompany transactions, the Chapter 11
Cases, the formulation, preparation, dissemination, solicitation, negotiation, entry into, or
filing of the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
Supplement, the DIP Facility, the New ABL Facility, the New Term Loan Facility, the New
Common Stock, the Rights Offering, or any Restructuring Transaction, contract,
instrument, release, or other agreement or document created or entered into in connection
with the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
Supplement, the DIP Facility, the New ABL Facility, the New Term Loan Facility, the New
Common Stock, the Rights Offering, the Chapter 11 Cases, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or
upon any other act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date.

        Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release: (1) any obligations arising on or after the Effective Date of any party or Entity
under the Plan, the Confirmation Order, any Restructuring Document, or any post-Effective
Date transaction contemplated by the Restructuring Transactions (including under the New
ABL Facility and the New Term Loan Facility), or any document, instrument, or agreement
(including those set forth in the Plan Supplement and the New ABL Facility and the New
Term Loan Facility) executed to implement the Plan or the Restructuring Transactions;
(2) the rights of any Holder of Allowed Claims to receive distributions under the Plan; or
(3) any matters retained by the Debtors and the Reorganized Debtors pursuant to
the Schedule of Retained Causes of Action.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each
of the related provisions and definitions contained in the Plan, and further, shall constitute
the Bankruptcy Court’s finding that the Debtor Release is: (1) in exchange for the good and
valuable consideration provided by the Released Parties, including, the Released Parties’

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contribution to facilitating the Restructuring Transactions and implementing the Plan; (2) a
good faith settlement and compromise of the Claims released by the Debtor Release; (3) in
the best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable,
and reasonable; (5) given and made after due notice and opportunity for a hearing; and (6) a
bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates asserting any
Claim or Cause of Action released pursuant to the Debtor Release.

RELEASES BY THE RELEASING PARTIES

        As of the Effective Date, each Releasing Party is deemed to have released and
discharged each Debtor, Reorganized Debtor, and Released Party from any and all claims
and Causes of Action, whether known or unknown, including any derivative claims, asserted
on behalf of the Debtors, the Reorganized Debtors, or the Estates, that such Entity would
have been legally entitled to assert (whether individually or collectively), based on or relating
to or in any manner arising from, in whole or in part, the Debtors (including the
management, ownership, or operation thereof or otherwise), the Debtors’ in- or out-of-court
restructuring efforts, any Avoidance Actions, intercompany transactions, the Chapter 11
Cases, the formulation, preparation, dissemination, solicitation, negotiation, entry into, or
filing of the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
Supplement, the DIP Facility, the New ABL Facility, the New Term Loan Facility, the New
Common Stock, the Rights Offering, or any Restructuring Transaction, contract,
instrument, release, or other agreement or document created or entered into in connection
with the Restructuring Support Agreement, the Disclosure Statement, the Plan, the Plan
Supplement, the DIP Facility, the New ABL Facility, the New Term Loan Facility, the New
Common Stock, the Rights Offering, the Chapter 11 Cases, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or
upon any other related act or omission, transaction, agreement, event, or other occurrence
taking place on or before the Effective Date.

        Notwithstanding anything to the contrary in the foregoing, the Third-Party Release
does not release: (1) any obligations arising on or after the Effective Date of any party or
Entity under the Plan, the Confirmation Order, the Restructuring Documents, or any post-
Effective Date transaction contemplated by the Restructuring Transactions (including under
the New ABL Facility and New Term Loan Facility), or any document, instrument, or
agreement (including those set forth in the Plan Supplement and the New ABL Facility and
New Term Loan Facility) executed to implement the Plan or the Restructuring Transactions;
or (2) the rights of any Holder of Allowed Claims to receive distributions under the Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Third-Party Release, which includes by reference
each of the related provisions and definitions contained in the Plan, and further, shall
constitute the Bankruptcy Court’s finding that the Third-Party Release is: (1) consensual;
(2) essential to the Confirmation of the Plan; (3) given in exchange for the good and valuable
consideration provided by the Released Parties; (4) a good faith settlement and compromise
of the Claims released by the Third-Party Release; (5) in the best interests of the Debtors

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their Estates; (6) fair, equitable, and reasonable; (7) given and made after due notice and
opportunity for a hearing; and (8) a bar to any of the Releasing Parties asserting any Claim
or Cause of Action released pursuant to the Third-Party Release.

EXCULPATION

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur any liability for, and each Exculpated Party shall be released and exculpated from
any Cause of Action for any claim related to any act or omission in connection with, relating
to or arising out of the Chapter 11 Cases, the formulation, preparation, dissemination,
negotiation, or filing of the Restructuring Support Agreement and related prepetition
transactions, the Disclosure Statement, the Plan, the DIP Facility, the New ABL Facility, the
New Term Loan Facility, the New Common Stock, the Rights Offering, or any Restructuring
Transaction, contract, instrument, release or other agreement or document created or
entered into in connection with the Disclosure Statement, the DIP Facility, the New ABL
Facility, the New Term Loan Facility, the New Common Stock, the Rights Offering, or the
Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan, including the issuance
of securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement, except for claims related to any act or omission that is determined in a
Final Order to have constituted gross negligence, willful misconduct, or actual fraud. The
Exculpated Parties have, and upon completion of the Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the violation
of any applicable law, rule, or regulation governing the solicitation of acceptances or
rejections of the Plan or such distributions made pursuant to the Plan. Notwithstanding
anything to the contrary in the foregoing, the exculpation set forth above does not exculpate
any obligations arising on or after the Effective Date of any Person or Entity under the Plan,
any post-Effective Date transaction contemplated by the Restructuring Transactions
(including under the New ABL Facility and New Term Loan Facility), or any document,
instrument, or agreement (including those set forth in the Plan Supplement and the New
ABL Facility and New Term Loan Facility) executed to implement the Plan.

INJUNCTION

        Effective as of the Effective Date, all Entities that have held, hold, or may hold Claims,
Interests, or Causes of Actions that have been released, discharged, or are subject to
exculpation are permanently enjoined, from and after the Effective Date, from taking any of
the following actions against, as applicable, the Debtors, the Reorganized Debtors, the
Exculpated Parties, or the Released Parties: (1) commencing or continuing in any manner
any action or other proceeding of any kind on account of or in connection with or with
respect to any such Claims, Interests, or Causes of Actions; (2) enforcing, attaching,
collecting, or recovering by any manner or means any judgment, award, decree, or order
against such Entities on account of or in connection with or with respect to any such Claims,
Interests, or Causes of Actions; (3) creating, perfecting, or enforcing any encumbrance of
any kind against such Entities or the property or the estates of such Entities on account of

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or in connection with or with respect to any such Claims, Interests, or Causes of Actions;
(4) asserting any right of setoff, subrogation, or recoupment of any kind against any
obligation due from such Entities or against the property of such Entities on account of or in
connection with or with respect to any such Claims, Interests, or Causes of Actions unless
such Holder has filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a claim or interest or otherwise that
such Holder asserts, has, or intends to preserve any right of setoff pursuant to applicable law
or otherwise; and (5) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such
Claims, Interests, or Causes of Actions released, settled or subject to exculpation pursuant
to the Plan. Notwithstanding anything to the contrary in the foregoing, the injunction set
forth above does not enjoin the enforcement of any obligations arising on or after the
Effective Date of any Person or Entity under the Plan, any post-Effective Date transaction
contemplated by the Restructuring Transactions (including under the New ABL Facility and
New Term Loan Facility), or any document, instrument, or agreement (including those set
forth in the Plan Supplement and the New ABL Facility and New Term Loan Facility)
executed to implement the Plan.

       Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
respective current and former employees, agents, officers, directors, managers, principals,
and direct and indirect Affiliates, in their capacities as such, shall be enjoined from taking
any actions to interfere with the implementation or Consummation of the Plan. Each Holder
of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to
accept, distributions under or Reinstatement of such Claim or Interest, as
applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in ARTICLE VIII.F of the Plan.

DISCHARGE OF CLAIMS AND TERMINATION OF INTERESTS

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Restructuring Documents, the Plan, or in any contract, instrument, or other
agreement or document created or entered into pursuant to the Plan, the distributions, rights, and
treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release,
effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or
compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action
of any nature whatsoever, including any interest accrued on Claims or Interests from and after the
Petition Date, whether known or unknown, against, liabilities of, Liens on, obligations of, rights
against, and interests in, the Debtors or any of their assets or properties, regardless of whether any
property shall have been distributed or retained pursuant to the Plan on account of such Claims
and Interests, including demands, liabilities, and Causes of Action that arose before the Effective
Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to
services performed by employees of the Debtors prior to the Effective Date and that arise from a
termination of employment, any contingent or non-contingent liability on account of
representations or warranties issued on or before the Effective Date, and all debts of the kind
specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or
not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section
501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is

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Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the Holder of such a Claim or
Interest has accepted the Plan. The Confirmation Order shall be a judicial determination of the
discharge of all Claims (other than the Reinstated Claims) and Interests (other than the
Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date, except
as otherwise specifically provided in the Plan or in any contract, instrument, or other agreement or
document created or entered into pursuant to the Plan.

RELEASE OF LIENS

        Except as otherwise provided in the New Debt Documents, the Plan, the Confirmation
Order, or in any contract, instrument, release, or other agreement or document created or entered
into pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions
made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of the portion of
the Secured Claim that is Allowed as of the Effective Date, except for Other Secured Claims that
the Debtors elect to Reinstate in accordance with the Plan, all mortgages, deeds of trust, Liens,
pledges, or other security interests against any property of the Estates shall be fully released and
discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their
successors and assigns. Any Holder of such Secured Claim (and the applicable agents for such
Holder) shall be authorized and directed, at the sole cost and expense of the Reorganized Debtors,
to release any collateral or other property of any Debtor or Foreign Guarantor Subsidiary
(including any cash collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Liens and/or security interests, including the
execution, delivery, and filing or recording of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial, or local agency, records office, or
department shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens.

        To the extent that any Holder of a Secured Claim that has been satisfied or discharged in
full pursuant to the Plan, or any agent for such Holder, has filed or recorded publicly any Liens
and/or security interests to secure such Holder’s Secured Claim, then as soon as practicable on or
after the Effective Date, such Holder (or the agent for such Holder) shall take any and all steps
requested by the Debtors, the Reorganized Debtors, the New Term Loan Agent, or the New ABL
Agent that are necessary or desirable to record or effectuate the cancelation and/or extinguishment
of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings
on such Holder’s behalf.

SETOFFS AND RECOUPMENT

        Except as expressly provided in the Plan, each Reorganized Debtor may, pursuant to
section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all Claims, rights, and Causes of Action that such
Reorganized Debtor may hold against the Holder of such Allowed Claim to the extent such setoff
or recoupment is either (1) agreed in amount among the relevant Reorganized Debtor(s) and the
Holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another

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court of competent jurisdiction; provided that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Reorganized Debtor or its successor of any and all claims, rights, and Causes of Action that such
Reorganized Debtor or its successor may possess against the applicable Holder. In no event shall
any Holder of a Claim be entitled to recoup such Claim against any claim, right, or Cause of Action
of the Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has
performed such recoupment and provided notice thereof in writing to the Debtors in accordance
with Article XIII.F of the Plan on or before the Effective Date, notwithstanding any indication in
any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of
recoupment.

                 Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in Article V.H.1 and elsewhere in the
Plan, all Executory Contracts or Unexpired Leases not otherwise assumed or rejected
(to the extent applicable) will be deemed assumed by the applicable Reorganized Debtor in
accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
Code, other than those that are: (1) identified on the Rejected Executory Contracts and Unexpired
Leases Schedule (if any); (2) previously expired or terminated pursuant to their own terms;
(3) have been previously assumed or rejected (to the extent applicable) by the Debtors pursuant to
a Final Order; (4) are the subject of a motion to reject that is pending on the Effective Date; or
(5) have an ordered or requested effective date of rejection that is after the Effective Date.

         Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumptions, assumptions and assignments, and related Cure amounts with respect
thereto, or rejections (to the extent applicable) of the Executory Contracts or Unexpired Leases as
set forth in the Plan or the Schedule of Proposed Cure Amounts or the Rejected Executory
Contracts and Unexpired Leases Schedule (if any), pursuant to sections 365(a) and 1123 of the
Bankruptcy Code. Except as otherwise specifically set forth in the Plan, assumptions or rejections
(to the extent applicable) of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant
to the Plan or by Bankruptcy Court order but not assigned to a third party before the Effective Date
shall re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in
accordance with its terms, except as such terms may have been modified by the provisions of the
Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall
be subject to approval by a Final Order on or after the Effective Date but may be withdrawn,
settled, or otherwise prosecuted by the Reorganized Debtors.

        Except as otherwise provided in the Plan or agreed to by the Debtors and the applicable
counterparty, each assumed Executory Contract or Unexpired Lease shall include all
modifications, amendments, supplements, restatements, or other agreements related thereto, and
all rights related thereto, if any, including all easements, licenses, permits, rights, privileges,
immunities, options, rights of first refusal, and any other interests. Modifications, amendments,
supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have
been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the


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prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount
of any Claims that may arise in connection therewith.

        To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed or assumed and assigned pursuant to the Plan restricts or
prevents, or purports to restrict or prevent, or is breached or deemed breached by, the assumption
or assumption and assignment of such Executory Contract or Unexpired Lease (including any
“change of control” provision), then such provision shall be deemed modified such that the
transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate
such Executory Contract or Unexpired Lease or to exercise any other default-related rights with
respect thereto.

       Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized
Debtors, as applicable, reserve the right to alter, amend, modify, or supplement the Rejected
Executory Contracts and Unexpired Leases Schedule (if any) or Schedule of Proposed Cure
Amounts at any time up to forty-five days after the Effective Date. The Debtors or the Reorganized
Debtors, as applicable, shall file with the Bankruptcy Court and serve on the applicable
counterparty notice regarding any change to the Rejected Executory Contracts and Unexpired
Leases Schedule (if any) or the Schedule of Proposed Cure Amounts, as applicable, and the
counterparty shall have fourteen days from service of such notice to file an objection with the
Bankruptcy Court.

        To the extent any provision of the Bankruptcy Code or the Bankruptcy Rules requires the
Debtors to assume or reject an Executory Contract or Unexpired Lease, such requirement shall be
satisfied if the Debtors make an election to assume or reject such Executory Contract or Unexpired
Lease prior to the deadline set forth by the Bankruptcy Code or the Bankruptcy Rules, as
applicable, regardless of whether or not the Bankruptcy Court has actually ruled on such proposed
assumption or rejection prior to such deadline.

        If certain, but not all, of a contract counterparty’s Executory Contracts or Unexpired Leases
are assumed pursuant to the Plan, the Confirmation Order shall be a determination that such
counterparty’s Executory Contracts or Unexpired Leases that are being rejected pursuant to the
Plan are severable agreements that are not integrated with those Executory Contracts and/or
Unexpired Leases that are being assumed pursuant to the Plan. Parties seeking to contest this
finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
objection to the Plan on the grounds that their agreements are integrated and not severable, and
any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
extent not resolved by the parties prior to the Confirmation Hearing).


                           [Remainder of page intentionally left blank]




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